Case 1:24-cv-01355-RGA Document5- Filed 12/11/24 Page 1 of 2 PagelD #: 313

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

District of Delaware

Bardy Diagnostics, Inc.

Plaintiff(s)
Vv. Civil Action No.

iRhythm Technologies, Inc.

mee ee ae ae ae

T Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) iRhythm Technologies, Inc.

c/o The Corporation Trust Company
Corporation Trust Center

1209 Orange St.

Wilmington, DE 19801

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,

dadd fe
whose name and address are Philip A. Rovner (#3215)

Potter Anderson & Corroon LLP
Hercules Plaza

1313 North Market Street
Wilmington, DE 19801

(302) 984-6000

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

/s/ Randall C. Lohan
Date: 12/11/2024

Signature of Clerk or Deputy Clerk

Case 1:24-cv-01355-RGA Document5 Filed 12/11/24 Page 2 of 2 PagelD #: 314

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, ifany) RHYTHM Technologies, Inc.

was received by me on (date) 12/11/2024

C1 I personally served the summons on the individual at (place)

on (date) > or

I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

& I served the summons on (name of individual) Nadia Bellamy - Authorized to Accept , who is

designated by law to accept service of process on behalf of (name of organization) The Corporation Trust Company

1209 Orange St, Wilmington, DE 19801 on (date) 12/11/2024 ; OF

OT returned the summons unexecuted because Sor

O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: 12/11/2024 a eo

oe 3 i
Server's signature

Eric Chrisco- Process Server
Printed name and title

230 North Market Street
Wilmington, DE 19801

Server's address

Additional information regarding attempted service, etc:
